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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

CONSTANCE DANIELS,

      Plaintiff,

v.                                             Case No. 8:18-cv-01652-JSM-CPT

SELECT PORTFOLIO
SERVICING,

     Defendant.
___________________________________/

                    NOTICE OF PENDING RESOLUTION
      COMES NOW, Plaintiff, CONSTANCE DANIELS (“Ms. Daniels” or

“Plaintiff”), by and through the undersigned counsel, and hereby submits this Notice

of Pending Resolution pursuant to Local Rule 3.09 (a) with respect to Claims against

Defendant, SELECT PORTFOLIO SERVICING, and state that Plaintiff and

Defendant(s) have reached resolution with regard to the instant case and are

presently drafting, finalizing, and executing the settlement and dismissal documents.

Upon finalization of the same, the parties will immediately file the appropriate

dismissal documents with the Court.




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      Respectfully submitted this May 10, 2023:

                                        /s/ Kaelyn Diamond
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                                        Counsel for Plaintiff


                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 10 day of May, 2023, I electronically filed
the foregoing with the Clerk of the Court by using the CM/ECF system, which will
send a notice of electronic filing to all counsel of record.




                                        /s/ Kaelyn Diamond
                                        Kaelyn Diamond, Esq.
                                        Florida Bar No. 125132




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